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 16   EVELOZCITY, INC.
                         UNITED STATES DISTRICT COURT
 17
                        CENTRAL DISTRICT OF CALIFORNIA
 18
                          WESTERN DIVISION
 19
      FARADAY&FUTURE, INC.,       Case No. 2:18-cv-00737-DMG
 20                               DEFENDANT EVELOZCITY, INC.’S
              Plaintiff,          NOTICE OF MOTION AND
 21                               MOTION TO COMPEL
          v.                      ARBITRATION OF, AND TO STAY,
 22                               TRADE SECRET CLAIM
      EVELOZCITY, INC.,
 23                               Hearing Date: March 30, 2018
              Defendant.          Time:          9:30 a.m.
 24                               Courtroom:     8C, 8th Floor
                                  Judge:         Honorable Dolly M. Gee
 25                               Concurrently Filed/Lodged With:
 26                                1. Memorandum of Points and
                                      Authorities;
 27                                2. Decl. of Todd A. Boock, Esq.;
                                   3. [Proposed] Order.
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  1                           NOTICE OF MOTION AND MOTION
  2         PLEASE TAKE NOTICE THAT ON Friday, March 30, 2018 at 9:30 a.m.,
  3   or as soon thereafter as the matter may be heard, in the United States District Court
  4   for the Central District of California, United States Courthouse, located at 350 West
  5   1st Street, Los Angeles, CA, in Courtroom 8C, before the Honorable Dolly M. Gee,
  6   Defendant EVelozcity, Inc. (“Defendant” or “EVelozcity”) will and hereby does
  7   move the Court pursuant to 9 U.S.C. § 4 for an order compelling arbitration of
  8   Plaintiff Faraday & Future, Inc.’s (“Plaintiff” or “FF”) lawsuit against EVelozcity.
  9   Defendant also requests a stay of these proceedings during the pendency of the
 10   arbitration pursuant to 9 U.S.C. § 3. This motion is made following the conference
 11   of counsel pursuant to L.R. 7-3 which took place on February 13, 2018.
 12         Defendant’s motion is based on this Notice of Motion and Motion, the
 13   accompanying Memorandum of Points and Authorities, the concurrently-filed
 14   Declaration of Todd A. Boock and all exhibits thereto, all other documents in the
 15   Court’s file, any matters of which the Court may take judicial notice, and on such
 16   other written and oral argument as may be presented to the Court.
 17   Dated: February 20, 2018             Respectfully submitted,
 18                                        By: /s/ Neel Chatterjee
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 26
 27                                                  Attorneys for Defendant:
                                                     EVELOZCITY, INC.
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  1   I.    INTRODUCTION
  2
            Defendant EVelozcity, Inc. (“EVelozcity”) requests that this Court compel
  3
      Plaintiff Faraday & Future, Inc. (“FF”) to arbitrate under 9 U.S.C. § 4 and to stay
  4
      this case during the pendency of the arbitration under 9 U.S.C. § 3.
  5
            This is an employee mobility case. A number of FF employees left the
  6
      company and joined various entities, including EVelozcity. The contracts for these
  7
      employees contain broad arbitration clauses calling for all employee-related disputes
  8
      to be arbitrated. FF has made arbitration demands against several of those former
  9
      FF employees who joined EVelozcity, alleging numerous claims, including breach
 10
      of non-solicitation agreements, breach of confidentiality provisions, and trade secret
 11
      misappropriation.
 12
            The arbitration demand and the former FF employees’ contractual obligations
 13
      are inextricably intertwined with the claims in this litigation. The core allegations in
 14
      this lawsuit are word-for-word identical to allegations in the arbitration demands.
 15
      The demands include a claim for trade secret misappropriation, the same cause of
 16
      action alleged in this lawsuit. In fact, the claim against EVelozcity boils down to
 17
      nothing more than alleged violations of the former FF employees’ confidentiality
 18
      and non-solicitation clauses that have been restyled into a trade secret claim.
 19
            FF cannot have it both ways – on the one hand reaping the benefits of
 20
      arbitration due to the agreements with the Former Employees; but on the other,
 21
      using this Court to make a public spectacle of its grievances against EVelozcity.
 22
      Because FF alleges misconduct by EVelozcity that arises through and from alleged
 23
      actions taken by former FF employees as a result of their employment relationship
 24
      with FF, this matter also should be heard in arbitration under the doctrine of
 25
      equitable estoppel. See Kramer v. Toyota Motor Corp., 705 F.3d 1122, 1128 (9th
 26
      Cir. 2013).
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  1   II.   FACTUAL BACKGROUND
  2         A.      FF’s Allegations against EVelozcity are Based upon the Actions of
                    Five Former FF Employees, All of Whom Agreed to Arbitrate this
  3                 Conduct.
  4         The allegations in FF’s complaint (“Complaint”) focus on the purported
  5   actions of five former FF employees. At its core, FF’s Complaint is a claim for
  6   breach of contract against these employees restyled as a trade secret claim against
  7   EVelozcity.
  8         FF hired Stefan Krause, a well-known and respected leader in the automotive
  9   and banking industries (formerly of BMW and Deutsche Bank) in March 2017 to be
 10   its Chief Financial Officer. Compl., ¶ 6. In June 2017, FF hired Ulrich Kranz,
 11   another well-respected former BMW executive, to be its Chief Technology Officer.
 12   Compl., ¶ 7. FF hired William Strickland in September 2016, as Vehicle Line
 13   Engineer. Declaration of Todd A. Boock (“Boock Decl.”), ¶ 2, Ex. 1 (the
 14   “Amended Arbitration Demand”), ¶ 17. FF hired Christoph Kuttner in June 2015,
 15   to serve as the Director of Interior and Exterior Trim, whose purpose was to design
 16   the aesthetic of the vehicle. Id., ¶ 18. FF hired Sohel Merchant in March 2015, as
 17   Senior Director of Vehicle Packaging and Seating. Id., ¶ 16. Messrs. Krause,
 18   Kranz, Strickland, Kuttner, and Merchant (the “Former Employees”), as well as
 19   numerous others, have since left FF and joined various other companies, including
 20   EVelozcity.
 21         FF’s allegations of misconduct in the Complaint trace directly back to
 22   provisions in the Former Employees’ employment agreements with FF, all of which
 23   contain arbitration clauses. In fact, FF claims in the Amended Arbitration Demand
 24   that the Former Employees “signed substantially similar employment agreements,”
 25   which “required each of them: (1) to protect and not to misuse FF’s confidential
 26   information and trade secrets, (2) not to solicit any of FF’s employees for a period of
 27   one-year after their employment with FF ended, and (3) to resolve any disputes
 28

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  1   relating to their employment with FF in binding arbitration before JAMS.” Boock
  2   Decl., ¶ 2, Ex. 1, ¶ 19.
  3         FF asserts that “all FF employees are required to sign robust confidentiality
  4   agreements as conditions of their employment at FF.” Compl., ¶ 18. These
  5   agreements state that each employee “will hold in the strictest confidence, and take
  6   all reasonable precautions to prevent any unauthorized use or disclosure of
  7   Company Confidential information.” Boock Decl., ¶¶ 3-7, Exhs. 2-6 (Employment
  8   Agreements of Krause, Kranz, Strickland, Kuttner, and Merchant), Section 2(B).
  9   The employment agreements also contain a provision for “Return of Company
 10   Materials” that provide the Former Employees “will not keep in my possession,
 11   recreate, or deliver to anyone else, any and all Company property, including, but not
 12   limited to, Company Confidential Information. . . .” Id., Section 5. “Company
 13   Confidential Information” is defined as “without limitation . . . all non-public
 14   information that relates to the actual or anticipated business and/or products,
 15   research or development of the Company, or the Company’s technical data, trade
 16   secrets, or know-how. . . .” Id., Section 2(A).
 17         FF points to Mr. Strickland, Mr. Kuttner, and Mr. Merchant—current
 18   EVelozcity employees—as “examples” in its Complaint of former FF employees
 19   who allegedly violated their confidentiality agreements and misappropriated FF
 20   trade secrets and confidential information. FF claims that Mr. Strickland
 21   purportedly “copied substantial amounts of FF trade secret information” (Compl.,
 22   ¶ 25); that Mr. Kuttner allegedly took “several files and folders containing trade
 23   secret and confidential FF information” (Id., ¶ 27); and that Mr. Merchant
 24   supposedly “copied and took a large amount of confidential and proprietary
 25   technical information and FF materials” (Id., ¶ 28). This conduct is proffered in
 26   support of FF’s trade secrets claim in the lawsuit, but it could also be construed as a
 27   breach of the Former Employees’ employment agreements.
 28         As noted above, each of the five Former Employees’ FF employment

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  1   contracts also contains a non-solicitation provision, stating “during my employment
  2   and for a period of twelve (12) months immediately following the termination of my
  3   relationship with the Company. . . I will not directly or indirectly solicit any of the
  4   Company’s employees to leave their employment at the Company.” Boock Decl.,
  5   ¶¶ 3-7, Exhs. 2-6, Section 8. FF acknowledges the non-solicitation term in the
  6   Complaint, noting that Messrs. Krause and Kranz each agreed “for a period of one-
  7   year after his employment ended he would not solicit any FF employees to join him
  8   at any subsequent venture.” Compl., ¶¶ 6, 7.
  9         In the Complaint, FF attempts to state a violation of the non-solicitation
 10   clause, alleging that, beginning in November 2017, “EVelozcity and the former FF
 11   executives who started it have surreptitiously solicited at least 20 or more FF
 12   employees (many of whom were relatively senior) to leave FF and join EVelozcity.”
 13   Id., ¶ 9; see also id., ¶¶ 23, 29. FF further contends that “Krause and Kranz, along
 14   with a handful of other FF executives who were loyal to them, began covertly
 15   soliciting multiple FF employees to leave with them and work at defendant
 16   EVelozcity.” Id., ¶ 20. EVelozcity denies each of the above allegations, as well as
 17   any other claims of wrongdoing by EVelozcity or its employees.
 18         FF insisted upon a very broad arbitration provision which encompassed any
 19   sort of employment dispute. The breathtaking breadth of the provision is reflected
 20   in Section 12 of the agreement which states:
 21                [I]n consideration of [the employee’s] employment with
                   [FF], its promise to arbitrate all employment-related
 22                disputes, and [the employee]’s receipt of compensation,
                   pay raises, and other benefits paid to [the employee] by the
 23                company…I agree that any and all controversies,
                   claims, or disputes with anyone (including the company
 24                and any employee, officer, director, shareholder, or benefit
                   plan of the company, in their capacity as such or
 25                otherwise, whether brought on an individual, group, or
                   class basis, arising out of, relating to, or resulting from
 26                my employment with the company or the termination of
                   my employment with the company, including any breach
 27                of this agreement, shall be subject to binding arbitration
                   ....
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   1   Boock Decl., ¶¶ 3-7, Exhs. 2-6, Section 12 (emphases added). The parties are
   2   bound to arbitrate “any statutory claims under local, state, or federal law” and
   3   include “any disputes that the company may have” with the employee. Id. The
   4   agreements further note that “this agreement to arbitrate also applies to any disputes
   5   that the company may have with me.” Id.
   6         B.     The Allegations in the Lawsuit are Copied Directly from the
                    Claims Made in the Arbitration.
   7
   8         As described in further detail below, FF set forth the same core allegations in

   9   the five arbitration demands against the Former Employees as it did in the

  10   Complaint in this Court. EVelozcity’s purported liability arises out of these claims,

  11   which pertain to the Former Employees’ alleged breaches of their employment

  12   agreements, all of which are the subject of the concurrent arbitration. EVelozcity

  13   disputes each and every one of these allegations against the former FF employees.

  14                1.    FF’s Allegations in this Lawsuit
  15         FF’s Complaint is largely a copy of its arbitration demand against the
  16   individual employees and is simply a restyled version of the breach of contract
  17   claim asserted against the Former Employees. At the center of FF’s Complaint, FF
  18   contends that just before leaving its employ, Strickland “copied and took potentially
  19   thousands of FF’s most sensitive electronic documents from his FF computer and
  20   FF’s servers.” Compl., ¶ 25 (emphasis in original); see also Boock Decl., ¶ 2, Ex. 1,
  21   ¶ 36. FF further contends that Mr. Strickland “accessed and apparently copied onto
  22   a portable USB drive and/or a personal Google drive substantial amounts of FF
  23   trade secret information.” Compl., ¶ 25; see also Boock Decl., ¶ 2, Ex. 1, ¶ 36.
  24   Shortly before leaving FF, Mr. Kuttner allegedly “plugged multiple external storage
  25   devices into his FF computer and, while they were inserted, accessed (and
  26   apparently copied and took) several files and folders containing trade secret and
  27   confidential FF information . . . .” Compl., ¶ 27; see also Boock Decl., ¶ 2, Ex. 1,
  28   ¶ 38. According to FF, Mr. Merchant, “yet another former FF employee,” allegedly

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   1   researched how to “wipe” FF files “soon before leaving FF” and then performed
   2   “targeted wipes of both his FF laptop and desktop computer.” Compl., ¶ 28; see
   3   also Boock Decl., ¶ 2, Ex. 1, ¶ 39. Based upon all of these facts arising from the
   4   former FF employees’ alleged conduct, FF claims that the information taken by
   5   Messrs. Strickland, Kuttner, and Merchant, among others, was used by EVelozcity
   6   “to unfairly compete with FF,” and the employees allegedly took the information for
   7   EVelozcity to “use FF’s trade secrets” and to “benefit EVelozcity and/or to harm
   8   FF.” Compl., ¶¶ 25-28.
   9                2.     FF’s Allegations in the Arbitration Demands
  10         FF filed its original arbitration demand (“Original Arbitration Demand”) on
  11   the same day as its Complaint against EVelozcity. Boock Decl., ¶ 8, Ex. 7. The
  12   Original Arbitration Demand named Mr. Krause and Mr. Kranz as sole respondents
  13   and asserted claims for breach of contract, breach of the implied covenant of good
  14   faith and fair dealing, breach of fiduciary duty, misappropriation of trade secrets,
  15   and unfair competition. Id.
  16         The Original Arbitration Demand intertwines EVelozcity and the respondents
  17   extensively. The Demand makes clear that the allegations of misappropriation were
  18   to “benefit Evelozcity.” Id., ¶ 35. FF even notes in its initial arbitration demand
  19   that it has filed the lawsuit against EVelozcity to address this alleged
  20   misappropriation of trade secrets, further establishing the arbitration’s tie to the
  21   instant case. Id., ¶ 11. The Original Arbitration Demand further says:
  22
                    [I]t appears that Respondents and E[V]elozcity are
  23                attempting to hire as many senior FF personnel as
                    possible, have them copy and take FF’s proprietary
  24                information that has been developed at great trouble and
                    expense by FF, and then use those trade secrets to unfairly
  25                compete with FF. In this regard, Respondents and their
                    new venture apparently not only encourage departing FF
  26                employees to take trade secret information, but have also
                    coached the departed employees to falsely deny to FF
  27                personally….that they intend to join Respondents at
                    E[V]elozcity.
  28

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   1   Id., ¶ 34; see also id., ¶ 28.
   2          The Original Arbitration Demand alleges that “Respondents’ business plan
   3   for E[V]elozcity is to hire as many senior FF personnel as possible, have them copy
   4   and take FF’s proprietary information…and then use those trade secrets to unfairly
   5   compete with FF.” Id., ¶ 10. In the Original Arbitration Demand, FF alleges that
   6   Krause “had been secretly working on behalf of E[V]elozcity while still employed
   7   by FF,” allegedly engaging in trade secret misappropriation, and “‘pitching’ [ ]
   8   investors . . . on technology that Krause and Kranz learned at FF, and that [the
   9   Former Employees] and E[V]elozcity have stolen from FF.” Id., ¶¶ 26-27. All of
  10   the former FF employees’ alleged misconduct was purportedly done at
  11   “Respondents’ and E[V]elozcity’s encouragement and direction. . . .” Id., ¶ 29; see
  12   also id. ¶ 30 (Former Employee Bill Strickland’s alleged misconduct resulted in
  13   “Respondents and E[V]elozcity [ ] wrongfully possess[ing], disclos[ing], and
  14   us[ing] FF’s trade secrets”); ¶ 32 (“Respondents and [EVelozcity] encouraged and
  15   directed Mr. Kuttner to copy and take FF’s trade secrets”); ¶ 33 (Former Employee
  16   Sohel Merchant’s “actions were undertaken to benefit Respondents and
  17   [EVelozcity]”).
  18          On February 9, 2018, FF amended its Original Arbitration Demand and added
  19   Sohel Merchant, Irving Strickland, and Christoph Kuttner as respondents. See
  20   Boock Decl., ¶ 2, Ex. 1. The factual allegations largely remained the same and FF
  21   added a count of Civil Conspiracy to Commit Misappropriation of Trade Secrets.
  22          The allegations of the Complaint, the Original Arbitration Demand and the
  23   Amended Arbitration Demand are identical as to nearly all substantive allegations.
  24   In fact, twenty-five of the forty-two paragraphs in the Complaint are directly copied
  25   or substantially reproduced from the Arbitration Demands. See Boock Decl., ¶ 9,
  26   Ex. 8 (Comparison Chart of Complaint, Arbitration Demand and Amended
  27   Arbitration Demand).
  28          During the meet and confer process in advance of this motion, EVelozcity’s

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   1   counsel demanded that FF agree to arbitrate the claims at issue in the Complaint. FF
   2   refused to do so, so EVelozcity was forced to file this Motion.
   3   III.   ARGUMENT
   4          A.    Equitable Estoppel Requires FF’s Trade Secret Claim be
                    Arbitrated against EVelozcity.
   5
   6          This case belongs in arbitration along with the arbitration demand filed

   7   against the former FF employees under the doctrine of equitable estoppel.

   8          The Supreme Court has held that a litigant who is not a party to an arbitration

   9   agreement may invoke arbitration if the relevant state contract law allows a non-

  10   signatory litigant to enforce the agreement. Arthur Andersen LLP v. Carlisle, 556

  11   U.S. 624 (2009). Equitable estoppel is built on the principle that it “would be

  12   inequitable for [plaintiffs], as party to arbitration agreements with [defendants], to

  13   use the substantive terms of those agreements as a foundation for their claims

  14   against non-signatories, and at the same time disavow the arbitration clauses of

  15   those very agreements.” Amergence Supply Chain Mgmt., Inc. v. Changhong (Hong

  16   Kong) Trading Ltd., No. CV159976MWFAFMX, 2016 WL 8234652, at *5 (C.D.

  17   Cal. Apr. 21, 2016). Where a non-signatory seeks to enforce an arbitration clause,

  18   the doctrine of equitable estoppel applies in two circumstances: (1) when a signatory

  19   must rely on the terms of the written agreement in asserting its claims against the

  20   non-signatory or the claims are “intimately founded in and intertwined with” the

  21   underlying contract,” (Goldman v. KPMG LLP, 173 Cal. App.4th 209, 221 (2009)

  22   (quoting Metalclad Corp. v. Ventana Envtl. Org. P’ship, 109 Cal.App.4th 1705

  23   (2003))), and (2) when the signatory alleges substantially interdependent and

  24   concerted misconduct by the non-signatory and another signatory and “the

  25   allegations of interdependent misconduct [are] founded in or intimately connected

  26   with the obligations of the underlying agreement.” Goldman, 173 Cal. App.4th at

  27   219; see also Kramer, 705 F.3d at 1128. California law, which is the express choice

  28   of law pursuant to the Arbitration Agreements at issue here, expressly allows non-

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   1   signatories to enforce an arbitration agreement under equitable estoppel where, as
   2   here, the claims against the non-signatory are “dependent on or inextricably bound
   3   up with” the arbitration agreement. Dell’Oro Group, Inc. v. Alan Weckel, et al.,
   4   Case No. 3:17-cv-000750, Dkt. No. 53 at 2 (N.D. Cal. Aug. 14, 2017) (quoting
   5   Murphy v. DirecTV, Inc., 724 F.3d 1218, 1232 (9th Cir. 2013)).
   6         This case meets both circumstances outlined in Goldman.
   7                1.     FF Must Rely on the Terms of the Employment Agreements
                           to Assert its Claim Against EVelozcity, because the Claim is
   8                       Intimately Founded In and Intertwined with the Underlying
                           Agreements.
   9
  10         FF’s misappropriation claim against EVelozcity “rel[ies] on and presume[s]

  11   the existence of the [employment] contract[s],” and specifically recites the

  12   contractual obligations between FF and the Former Employees. Boucher v Alliance

  13   Title Co., Inc., 127 Cal. App. 4th 262, 269 (2005). The entirety of this claim hinges

  14   on the employment relationship between the former FF employees and FF and those

  15   employees’ associated contractual duties to FF.1 Specifically, the alleged theft of

  16   the trade secrets was purportedly committed by the Former Employees in breach of

  17   their employment agreements. Compl., ¶¶ 23-28; see Boock Decl., ¶¶ 3-7, Exhs. 2-

  18   6, Section 2. FF goes so far as to allege that EVelozcity’s entire business plan was

  19   to hire FF employees with the sole purpose of acquiring FF’s trade secrets. Compl.,

  20   ¶ 9. FF does not allege any wrongful conduct by EVelozcity that is independent

  21   from, or additional to, that of the Former Employees. FF’s only claim against

  22   EVelozcity is based on the exact same factual allegations it brings in its arbitration

  23   demand. Indeed, the claims are virtually identical, particularly where allegations

  24   from the Arbitration Demand were cut and pasted into the Complaint and form the
       1
  25     An assertion by FF that its arbitration agreements do not encompass the trade
       secret claim against EVelozcity, though incorrect, must be determined in arbitration.
  26   Where, as here, an arbitration agreement delegates any dispute between the parties
       to an arbitrator, the arbitrator, not the Court, should rule on challenges to any
  27   threshold issues, such as enforceability or applicability of the arbitration agreement.
       Brock v. Kaiser Foundation Hospitals, 10 Cal. App. 4th 1790, 1796, 1797-81
  28   (1992); see also First Options of Chicago, Inc. v. Kaplan, 514 U.S. 938, 944 (1995).

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   1   basis of the trade secrets cause of action. Boock Decl., ¶ 9, Ex. 8.
   2         Any adjudication of the claim against EVelozcity must encompass the alleged
   3   wrongful acts by the Former Employees and rely on the underlying employment
   4   agreements. See Compl., ¶¶ 6, 7; Boock Decl., ¶ 2, Ex. 1, ¶ 46 (Krause and Kranz
   5   “have also breached and continue to breach the agreements by taking and using FF’s
   6   confidential information, and by encouraging others to do so”). Without the
   7   purported breaches by the Former Employees, FF has nothing to allege against
   8   EVelozcity.
   9         FF cannot claim the benefits of the arbitration agreements while attempting to
  10   avoid their burdens under identical facts and allegations. Kramer, 705 F.3d at 1128
  11   (citing Comer v. Micor, Inc., 436 F.3d 1098, 1101 (9th Cir. 2006)). Consequently,
  12   this Court should compel FF to arbitrate its only cause of action against EVelozcity,
  13   which arises from FF’s allegations of wrongful conduct by the Former Employees.
  14   See All for Kidz, Inc. v. Around the World Yoyo Entm’t Co., No. C13-2001RAJ,
  15   2014 WL 1870821, at *2 (W.D. Wash. May 8, 2014) (noting that, as a practical
  16   matter, the parallel arbitration dealing with the same facts would dispose of all
  17   matters in plaintiff’s complaint and thus the court refused to “permit [plaintiff] to
  18   squander adjudicative resources in this fashion.”).
  19                 2.    FF Alleges Substantially Interdependent and Concerted
                            Misconduct by EVelozcity and the Former Employees,
  20                        which is Founded In and Intimately Connected with the
                            Obligations of the Employment Agreements.
  21
  22         FF alleges substantially interdependent and concerted misconduct by

  23   EVelozcity, and “the allegations of interdependent misconduct [are] founded in or

  24   intimately connected with the obligations of the underlying agreement.” Goldman,

  25   173 Cal. App.4th at 219; see also Kramer, 705 F.3d at 1128. A cursory review of

  26   the Complaint, the Original Arbitration Demand and the Amended Arbitration

  27   Demand demonstrate this fact. Each document specifically calls out the contractual

  28   obligations of the former FF employees. Each document also specifically discusses

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   1   the contractual duties of confidentiality not only as a duty but also as a measure to
   2   protect trade secrets. In addition, each document discusses the non-solicitation
   3   obligations of FF employees. Those, again, are grounded in the contractual
   4   relationship between the Former Employees and FF.
   5   IV.   CONCLUSION
   6         The Court should compel FF to arbitrate its trade secret misappropriation
   7   claim, which arises entirely out of the actions of its Former Employees, with only
   8   sparse and conclusory allegations against EVelozcity. FF’s Complaint reproduces
   9   wholesale the claims that it asserts against the Former Employees in its Arbitration
  10   Demand, simply adding a few sentences regarding EVelozcity. FF cannot be
  11   allowed to skirt the restrictions imposed by the arbitration clauses it required its
  12   Former Employees to sign, while simultaneously seeking to enforce those clauses in
  13   separate but identical proceedings in this Court. For these and the foregoing
  14   reasons, EVelozcity requests that this Court compel FF to arbitrate its trade secret
  15   claim under the principles of equitable estoppel and stay this case pending the
  16   arbitration.
  17
  18   Dated:         February 20, 2018             Respectfully submitted,
  19
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